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 1                                                         Honorable Judge James L. Robart
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 7                        UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON
                                SEATTLE DIVISION
 9   JUSTIN BELDOCK, GORDON BROWARD            Case No. 2:22-cv-01082-JLR
     and SHAADI NEZAMI, individually and as
10
     representatives of a class of similarly   STIPULATION AND PROPOSED
11   situated persons, on behalf of the        AGREED ORDER REGARDING
     MICROSOFT CORPORATION SAVINGS             MOTION TO DISMISS BRIEFING
12   PLUS 401(K) PLAN,                         SCHEDULE
13               Plaintiffs,
14         v.
15
     MICROSOFT CORPORATION; THE
16   BOARD OF TRUSTEES OF MICROSOFT
     CORPORATION; THE 401(K)
17   ADMINISTRATIVE COMMITTEE OF THE
     MICROSOFT CORPORATION SAVINGS
18   PLUS 401(K) PLAN; and DOES NO. 1‐20,
     Whose Names Are Currently Unknown,
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20
                 Defendants.
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     STIPULATION AND PROPOSED                              MORGAN, LEWIS & BOCKIUS LLP.
     ORDER REGARDING BRIEFING                  1301 Second Avenue, Suite 2800 | Seattle, WA 98101
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     Case No. 2:22-cv-01082-JLR
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 1                                         STIPULATION
 2
            The parties, by and through their attorneys of record, hereby stipulate and jointly
 3
     request that the Court enter the following proposed briefing schedule for the motion to
 4
     dismiss plaintiffs’ complaint:
 5
            • Deadline for defendants’ motion to dismiss: October 28, 2022.
 6

 7          • Deadline for plaintiffs’ opposition to defendants’ motion to dismiss: November 23,

 8          2022.
 9          • Deadline for defendants’ reply in support of their motion to dismiss: December 16,
10
            2022.
11

12          DATED this 20th day of September 2022.

13
      TERRELL MARSHALL LAW GROUP                  MORGAN, LEWIS & BOCKIUS, LLP
14    PLLC
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           Case 2:22-cv-01082-JLR Document 25 Filed 09/20/22 Page 3 of 4



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     Proposed Class
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 1                                             ORDER
 2          Based on the foregoing stipulation of the parties, the Court hereby ORDERS that
 3   defendants’ motion to dismiss shall be filed by October 28, 2022, plaintiffs’ opposition to
 4   defendants’ motion to dismiss shall be filed on or before November 23, 2022, and defendants’
 5   reply thereto shall be filed on or before December 16, 2022.
 6          DATED THIS 20th day of September 2022.
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 9                                                   A
                                                     The Honorable James L. Robart
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                                                     United States District Judge
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